                             Case 1:16-cv-00012-BR Document 178 Filed 05/22/17 Page 1 of 1
  AO 450 (Rev. 11/11) Judgment in a Civil Action


                                                 UNITED STATES DISTRICT COURT
                                                                                        for the
                                                                   Western District
                                                                  __________        of Pennsylvania
                                                                              District  of __________

                          SHARON BROGDON                                                     )
                                     Plaintiff                                               )
                                         v.                                                  )          Civil Action No. 1:16-cv-00012-BR
         CORRECT CARE SOLUTIONS LLC , et. al.,                                               )
                                    Defendant                                                )

                                                        JUDGMENT IN A CIVIL ACTION

  The court has ordered that (check one):

  ’ the plaintiff (name)                                                                                                                          recover from the
  defendant (name)                                                                                                                                   the amount of
                                                                                      dollars ($                                        ), which includes prejudgment
  interest at the rate of                           %, plus post judgment interest at the rate of                                      % per annum, along with costs.

  ’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                   recover costs from the plaintiff (name)
                                            .

  ✔ other:
  ’                 Judgment is entered in favor of the Defendants, CORRECT CARE SOLUTIONS LLC, DANIEL SCOTT
                    TELEGA, PA-C, PARIS BURKE HORAN, M.D., and DAVID BASHLINE, D.O. and against the Plaintiff,
                    SHARON BROGDON.                                                                                                                                          .

  This action was (check one):

  ✔
  ’ tried by a jury with Judge                   Barbara J. Rothstein                                                                     presiding, and the jury has
  rendered a verdict.

  ’ tried by Judge                                                                                                       without a jury and the above decision
  was reached.

  ’ decided by Judge                                                                                                             on a motion for

                                                                                                                                                                             .
                                                                                                         &/(5.2)&2857
  Date:                                                                                               CLERK OF COURT


05/22/2017                                                                                                   Nicole Kierzek
'DWH6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                                                                                                                                    Signature of Clerk or Deputy Clerk

               Print                             Save As...                                                                                                          Reset
